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                                                                   U .S . D'' TF!CT COUR T
                 UNITED STATES DISTRICT COURT

                 SOUTHERN DISTRICT OF GEORGIA

                        STATESBORO DIVISION



STEVE LEWIS, )

      Movant ,

v.        )   Case                      No . CV605-59
                                         [Underlying CR604-10]
UNITED STATES OF AMERICA,           )

      Respondent .            )

                                 ORDER

      After a careful de novo review of the record in this case, the Court

concurs with the Magistrate Judge's Report and Recommendation, to which

no objections have been filed . Accordingly, the Report and

Recommendation of the Magistrate Judge is adopted as the opinion of the

Court .

      SO ORDERED this ,day of , 2005 .




                                    R_ AVAWT R n
                                    UNITED STATES 4ISTRICT JUDGE
                                    SOUTHERN DISTRICT OF GEORGIA
        Case 6:04-cr-00010-JRH Document 248 Filed 09/12/05 Page 2 of 2



                      United States District Court
                            Southern District of Georgia


STEVE LEWIS


vs                                                CASE NUMBER CV605-59 (CR604-10 )

UNITED STATES OF AMERICA                                               STATESBORO
                                                  DIVISION

       The undersigned, a regularly appointed and qualified deputy in the office of the Clerk of this
       district, while conducting the business of the Court for said division, does hereby certify the
       following :



        1.      Pursuant to the instructions from the Court and in the performance of my official
                duties, I personally placed in the United States Mail a sealed envelope, and properly
                addressed to each of the persons, parties or attorneys named below ; and

        2 . That the aforementioned enveloped contained a copy of the document dated
                 September 12, 2005      , which is part of the official record of this case .


Date of Mailing:            September 12, 200 5

Date of Certificate                 ❑ same date, or

                                               Scott L . Poff, Clerk



                                               By:
                                                      nP uty Cle
Name and Addres s

Amy Lee Copeland, Esq .

Steve Lewis
11989-021
FC I
Fort Dix 5841 West
P .O . Box 700 0
Fort Dix, NJ 08640




                                                                         ❑      Copy placed in Minutes
                                                                                Copy given to Judg e
                                                                         ❑      Copy given to Magistrate
